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         Amendment NO.4, Appendix A: Scope of Work to be
         Executed by Siemens and its Subcontractor Origin Consulting
         for Stranded Bill Remediation, Business Operations
         Assessment and Technical Operations Assessment
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    INTRODUCTION
    The performance of the Work pursuant to this document shall be governed by and
    subject to the terms and conditions set forth in the Proposal for Alternate Work Scope
    dated March 23, 2018 and in the Performance Contracting Agreement and all
    Amendments to the Performance Contracting Agreement.


    Overview & Background
    In September 2015, the City of Jackson (COJ) went live with new Meter-to-Cash software,
    Oracle’s Customer Care & Billing (CC&B) and Mueller Systems’ Mi.Net and Mi.Host
    metering applications. In the months after the initial software stabilization was complete,
    the number of operational exceptions (captured as “To Do’s” in CC&B) began to grow.
    Many of these exceptions resulted in a bill not being delivered to the customer, and the
    account becoming “stranded.” By September 2016, COJ had accumulated approximately
    15,000 stranded accounts. At the City’s request and Siemens’ expense, Origin embarked
    on an effort to bring those 15,000 accounts current, and to perform a Meter-to-Cash
    assessment to identify root causes and recommended actions to prevent future stranded
    bills. The stranded bill recovery effort and the Meter-to-Cash assessment were both
    completed by October 2016. At the conclusion of the stranded bill recovery effort, over
    $11,000,000 of stranded bills were remedied and billed and the City was positioned for
    operational sustainability moving forward.

    In February 2018, The City contacted Siemens and the following observations were
    made:
          The number of stranded accounts has grown significantly
          The nightly CC&B batch billing process run time has increased by several hours
           and at times leads to missing bill print deadlines
          The recommended actions outlined in Origin’s Meter-to-Cash Assessment (which
           closely paralleled actions outlined in the earlier City commissioned Raftelis
           report) are not believed to be fully implemented

    As of March 5th, 2018, the City’s CC&B billing system has approximately 20,500 bills that
    are stranded with an impact of an estimated $19 Million dollars of unbilled revenue. It is
    believed that the root cause of the stranded bills may be attributed to the same poorly-
    performing business processes noted in 2016. Siemens desires to see the City of Jackson
    be successful in their water and wastewater operations. Siemens, with the assistance of
    its subcontractor Origin Consulting (Origin), has developed this scope of Work to define a
    set of measures to deliver immediate as well as sustainable improvements to operations.
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    Term
    The term of this engagement is estimated to be six months. The estimated start date is
    April 16th, 2018.


    Project Scope and Approach
    Stabilization of the City of Jackson’s Meter-to-Cash operations cannot be accomplished
    with a single effort. To solve for the City’s most immediate and urgent objectives, Origin
    has developed a stabilization program comprised of three separate project tracks
    focused on the City of Jackson specific needs. Each track is related and, while not
    dependent on each other, integrated in a manner to help the City restore stability across
    the entire business solution. Origin will provide resources to execute each of these
    tracks as well as an overall Program Manager to ensure synergy across the program.

    The table below provides a summary of the key objectives per track.

    Track #       Track Name                       Key Objectives
    1             Stranded Bill Remediation           Address issues preventing bills from
                                                       processing.
                                                      Identify and document root causes
                                                       of stranded bills.
                                                      Develop recommendations to
                                                       prevent future stranded bills.
                                                      Remediate a maximum of 21,000
                                                       stranded bills
    2             Business Operations                 Highlight new trouble spots
                  Assessment                           resulting in sub-optimal Meter to
                                                       Cash operations e.g. Start/Stop
                                                       accounts billing issue.
                                                      Identify poorly performing business
                                                       processes and recommended
                                                       improvements.
                                                      Evaluate organizations and roles for
                                                       operational fitness.
                                                      Identify additional revenue risks
                                                       and conditions similar to stranded
                                                       bills and define recommendations
                                                       to mitigate risks.
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    3                                 Technical Operations                                                          Identify issues impacting nightly
                                      Assessment                                                                     batch billing performance and
                                                                                                                     define recommendations for
                                                                                                                     improvement.
                                                                                                                    Evaluate CC&B application and
                                                                                                                     related infrastructure patch levels,
                                                                                                                     patching strategy, and develop
                                                                                                                     remediation plans.
                                                                                                                    Evaluate CC&B and Mueller
                                                                                                                     software data synchronization
                                                                                                                     health and develop
                                                                                                                     recommendations for any out-of-
                                                                                                                     sync conditions.
                                                                                                                    Review procedures for identifying
                                                                                                                     and working data sync issues.




    Meter-to-Cash Stabilization Program Timeline


                        Meter-to-Cash Stabilization Program
                               Month 1                         Month 2                              Month 3                        Month 4                       Month 5



                                                 4,200 stranded bills remediated
                                                                                   8,400 stranded bills remediated
                                                                                                                     12,600 stranded bills remediated

                                                                                                                                                   16,800 stranded bills remediated


                                                                                                                                                   Max 21,000 stranded bills remediated

                        Track 1 – Stranded Bill Remediation


                                                onTrack Revenue                       OnTrack Report Findings & Recommendations
        Mobilize Team




                                          Meter-to-Cash Operations Assessment


                         Meter-to-Cash Assessment v1 – process focus                       Meter-to-Cash Assessment v2 – Organization and Role focus

                        Track 2 – Business Operations Assessment

                        Batch Assessment            Batch Assessment Report Findings & Recommendations




                                                    CC&B/Mi.Host
                                                                                     Sync Assessment Report Findings & Recommendations
                                                   Sync Assessment

                        Track 3 – Technical Operations Assessment
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    Track 1 – Stranded Bill Remediation

    To address the most urgent concern, addressing the issues impacting all stranded bills at
    project commencement Siemens, subcontracting to Origin, will mobilize a team to
    perform the following activities:

       1. Review accounts not billed.
       2. Identify issues preventing billing completion.
       3. Correct issues (To-Dos) preventing the accounts from billing (which may be
          dependent on information from the City, see assumptions section).
              a. Create payment arrangements that will be reflected on upcoming bills for
                  accounts with stranded bills that meet predefined criteria.
       4. Identify and document root causes (system, process, and execution) of top
          generated billing errors for inclusion in the Operational Assessment in Track 2
          below.

    Reporting on the status of bill clearing and associated To-Do cleanup will be performed
    as indicated below.

       Weekly:
          The number of stranded accounts remaining per week.
          A list of accounts, per week, that are cleared along with issue/cause.
          Amount of Revenue that is generated by released bills and anticipated
             revenue for remaining bills.

       Monthly
          Verification metrics to confirm that the corrected accounts actually billed.
             Accounts not billed in the following month after the cleanup will be
             highlighted and explained.

    Origin has developed an estimate for this track based on upon Origin’s estimating models
    and experience delivering similar projects in the Utility industry. Additionally, the
    processes, procedures, and lessons learned from the 2016 Stranded Bill Remediation
    effort for the City of Jackson have been factored into the estimates for this effort. Based
    on this data, with a team of 6 FTEs Origin estimates a bill remediation rate of 4200 per
    month. At this rate, Origin estimates it may clear up to a maximum of 21,000 in
    approximately 5 months with the following assumptions:
         An expected growth rate of up to 90 stranded bills per month
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               o Note: If the actual stranded bills growth rate exceeds this estimated
                   growth rate, then it will be necessary to convene a meeting with The City
                   to determine the best course of action.
          COJ will continue to process ToDos created after project commencement at a rate
           that will ensure that there isn't an increase in the backlog of stranded bills greater
           than the estimated growth rate. This Is a normal operational expectation since
           the City will not be using resources to clear ToDos related to stranded bills
           Included In the Siemens remediation Initiative.


    Track 2 – Business Operations Assessment

    Siemens, subcontracting to Origin, will perform this assessment across two landscapes –
    Business Process and Business Data. The business process flows warrant significant
    evaluation, both within and across departments. In order for the business processes to
    be effective, they must be well aligned to the software application configuration in CC&B
    and Mi.Host, and executed consistently by the City staff. This level of alignment can often
    be measured by a deep evaluation of the business data within the applications.

          Business Process: Origin will review the business solution and its use within and
           across the City departments. Using Origin’s 2016 Meter-to-Cash Assessment
           report as an initial guide, our team will follow end-to-end business processes and
           evaluate any new policies, processes, or procedures that have been introduced
           since the 2016 report was produced. Origin will then combine these findings with
           inputs provided from the Stranded Bill track to prepare a comprehensive report
           that documents observations, concerns, and recommendations to improve poorly
           performing business processes, organizations, and roles .

          Business Data – Origin will evaluate the City’s Meter-to-Cash data using a set of
           expert analytics tools known as onTrack. Origin’s onTrack analytics tools evaluate
           application data to identify anomalies that may lead to a loss in revenue. These
           analytics and data anomalies help identify application areas and business
           processes that require remediation to prevent additional revenue loss.

    At the conclusion of this assessment, Siemens will provide the City of Jackson with a
    consolidated and comprehensive report authored by Origin that provides the following:

          Observations – a review of the use of CC&B and associated processes.
          Specific challenges – identification of specific instances where departmental
           behaviors are not aligned with prescribed recommended CC&B configuration
           and/or supporting business processes.
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          Specific improvements – remedies for each identified challenge that can
           significantly improve efficiency or performance within that department.


    Track 3 – Technical Operations Assessment
    In parallel to the launch of the Stranded Bill Remediation track, Siemens, subcontracting
    to Origin, will kick-off a technical discovery effort to gain insights into any technical issues
    that may be contributing to increasing Batch processing run times and related
    operational issues. To perform this effort, Origin will perform the assessment across
    three perspectives:

          Batch Processing Assessment: A deep dive to identify probable root causes that
           may be impacting nightly batch run times.

          CC&B/Mi.Host Sync Assessment: A review of data shared between the two
           applications focused on identification of any out-of-sync conditions that may exist
           and exacerbate operational issues and generate additional To-Dos.

    At the conclusion of this assessment, Siemens will provide the City of Jackson with the
    following generated through Origin’s engagement:
         Observations – a review of the CC&B batch job run times and overall database
            health.
         Specific challenges – identification of any specific problem conditions.
         Specific improvements – remedies for each identified challenge that can improve
            system performance or help remedy operational issues.


    Key Milestone Summary:
       The milestone dates below assume a project start date of April 16 th,
       2018.

       Month 1
       1. Track 1 - Stranded Bill Remediation: 4,200 Total Stranded Bills Remediated
       2. Track 2 - Business Operations Assessment: Meter-to-Cash Assessment v1
       3. Track 3 – Technical Operations Assessment: Batch Assessment Report Findings
          and Recommendations

       Month 2
       1. Track 1 - Stranded Bill Remediation: 8,400 Total Stranded Bills Remediated
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       2. Track 2 - Business Operations Assessment: OnTrack Report Findings and
          Recommendations
       3. Track 3 – Technical Operations Assessment: CC&B/Mi.Host Sync Assessment
          Report Findings and Recommendations

       Month 3
       1. Track 1 - Stranded Bill Remediation: 12,600 Total Stranded Bills Remediated
       2. Track 2 - Business Operations Assessment: Meter-to-Cash Assessment v2

       Month 4
       1. Track 1 - Stranded Bill Remediation: 16,800 Total Stranded Bills Remediated

       Month 5
       1. Track 1 - Stranded Bill Remediation: Up to 21,000 Total Stranded Bills Remediated


    Change Control Process
    Any request for changes to the items detailed into this scope of work must be in writing;
    this includes requests for changes in scope, specifications, schedule, designs,
    requirements, service deliverables, timeline or any other aspect of this scope of work.
    Neither party shall be obligated to perform tasks related to changes in time, scope, cost,
    or contractual obligations until Siemens and The City agree in writing to the proposed
    change(s) amending this scope of work.

    Assumptions, Clarifications and Exclusions
          Siemens and its subcontractor Origin will provide project management and
           industry expertise specifically related to and sufficient to complete the scope of
           work detailed herein.
          Some stranded or unbilled accounts may require additional information from the
           City, Siemens assumes the City will provide the required information within 5
           days of the request made by Siemens or its subcontractor Origin. Any delays in
           receiving City information could result in schedule delays or cost overruns.
          The City will provide policy guidelines for bill clearing and release. These policies
           will include the number of months to bill, any revenue forgiveness due to past
           issues and delayed billings. Initially, all bills will be generated but will contain the
           ‘bill intercept’ indicator, which means CC&B will generate a bill for the account,
           the bill will be included in the Utilitec review batch that requires the City to
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           release the bills for printing. The City may select to set a threshold for the bill
           intercepts – i.e. set intercept indicator if the bill amount is greater than $100.
           Origin will also include a list of accounts, the bill amount and the number of
           months billed on a daily basis, which can be verified against the Utilitec intercept
           file. Note: These bills will be printed as soon as the City authorizes Utilitec to
           proceed.
          Siemens and its subcontractor Origin will require additional information from the
           City during this process, to help troubleshoot some issues. City will provide Origin
           and Siemens with a designated contact person(s) to respond to requests for
           information or support. Origin or Siemens will provide a list of requirements &
           information needed to the City on a daily basis. An example is where accounts
           have pending fieldwork, which is preventing the account from being billed. Origin
           will utilize Mi.Host to clear as many of these as possible, but expects there will be
           cases where the City would need to complete pending fieldwork before the
           accounts can be billed. Origin will provide a list of these accounts on a daily basis
           and require the City to complete the fieldwork within 15 business days of
           receiving the information so that Origin can bill the account.
          Once the unbilled accounts have been fixed, they will be run through the nightly
           billing process, sent to Utilitec and produce a bill the following business day.

          Siemens and its subcontractor Origin cannot guarantee the account will bill the
           following month as the City may not complete business processes or the City may
           inadvertently cause the account to become unbillable again. Origin can confirm
           that the current issues preventing the account from being billed will be fixed to
           allow the account to be billed, therefore removing the cause for future billing
           cycles.

          Siemens is not accountable for any accounts that are pending City action or
           accounts that have unanswered requests for information or a request to
           complete activities outside of Siemens or its subcontractor Origin’s ability (e.g.
           fieldwork).

          The City will provide Origin and/or Siemens with access necessary to perform
           remediation and operational assessment activities.

          This work effort will be primarily performed remotely with occasional on-site
           sessions at the City of Jackson’s offices as necessary.

          This proposal assumes a total stranded bill volume up to a maximum of 21,000
           bills. At the time of development of this proposal In mid March 2018 there were
           approximately 20,500 stranded bills; an additional 500 stranded bills will be
           covered In the event the total Increases prior to or after the start of work.
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        Amendment NO.4, Appendix B: Scope of Work to be Executed by
        Siemens and its Subcontractor Mueller Systems for AMI and Mi.Net
        Services



Overview

Siemens will subcontract with Mueller Systems to provide certain software licenses, hardware maintenance, AMI
and Mi.Net support services to the City. Mueller Systems will provide timely response to network issues
(collectors & repeaters) as well as routinely troubleshooting and/or replacing any endpoint (Mi.Node) issues in
the field. The work will be done by Mueller Systems employees who will be able to respond with on-site, same-
day support for problems. The Mueller work will have two main priorities:

    1. Timely response to any collector or repeater issues. Once an issue is identified, Mueller will
       provide a response within 2 hours. If the issue needs on-site support, we will have staff at the site
       within 8 hours. Depending on the issues found, we will attempt to remedy all issues within 1 to 5
       business days.
    2. Routinely maintain the Mi.Node endpoints in the field. Mueller’s local staff will utilize the tools within
       Mi.Net to identify any endpoints which are not reporting within expectations. Mueller staff will visit
       these nodes in the field and provide any troubleshooting necessary up to and including Mi.Node
       replacement, if needed. Mueller will not remove, replace or install water meters.

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Licenses and Hardware Maintenance

The current Mueller Systems End User License Agreement that has been provided to The City through Siemens is
a Utility Owned (Non-Hosted) Maintenance and Support Agreement. This is Mueller’s standard agreement for
non-hosted systems and provides The City with basic software maintenance and support as described in the
agreement and chart below. Additionally, we will provide the City with hardware maintenance agreements
(extended warranty coverage) for collectors and handheld computers in accordance with the chart below. The
Proposal for Alternate Work Scope also provides for six months of infrastructure and Mi.Node
 service and maintenance as shown in the chart below.

        Utility Owned (Non-Hosted) Annual Software Maintenance and Support
                         Item                     Quantity      Term in
                                                                Months
        Mi.Host AMI Software Module for Water        1              12
        System (Up to 100,000 meters)
        Mi.Host Water Alerts Portal (Up to           1              12
        100,000 meters)

        Hardware Maintenance Plan
                       Item                              Quantity         Term in
                                                                          Months
        Handheld PC & Install Radio – ea.                  11*              12
        Mi.Hub Collector – ea.                             43**             MMMMo
                                                                            12
        Mi.mHub Maintenance Radio – ea.                     6*              nths
                                                                            12
        *Based on shipments
        **Based on current network status
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           Infrastructure and Mi.Node Service and Maintenance Plan
                            Item                      Quantity                   Term in
                                                                                 Months
           Appendix E – Extended Infrastructure                    1                6
           and Mi.Node Service and Maintenance
           Plan


 Additional Offer for Hosted Service

 Since the City has elected to work with Siemens and its subcontractor Mueller Systems for the additional services
 described above, Siemens and Mueller Systems can also offer the City the option to upgrade to a hosted
 software service at no additional charge by bundling the plans together for the six month term of the scope of
 work. Data hosting and support services are generally offered to customers at an increased cost (over the non-
 hosted service agreement) to account for the data storage requirements and additional resources
 devoted by our NOC team. Data hosting will provide The City with secure data storage and access to Mi.Host,
 without the worry of server upgrades, interruption of service due to ISPs, catastrophic loss of data, etc. It will
 also allow Mueller to continue to manage and cover the cost of the data plans between AT&T and the Mi.Hub
 collectors and allow our NOC staff to be engaged with additional trouble-shooting tools for faster response times
 and increased service levels.

Additional Details for Mueller Scope from Mueller Documentation



                                                          Services
1.      Software Services and Support Obligations (Online Software and Licensed Software)

          a.       “Update” to the Software means a subsequent release of the Software that Provider makes generally available
to its current customers for the Software. Updates include changes and corrections to the Software as are required to keep the
Software in substantial conformance with the applicable Documentation and that are created by Provider as corrections for
defects in the Software. Updates shall not include any release, option or future product that Provider licenses separately.
Provider shall in its sole discretion determine the nature, content, timing and release of any Updates.
          b.       Web-based support, consisting of information on the most current release of the Software through Provider’s
web site.
          c.       Phone support in the form of advice and counsel via telephone regarding Customer’s use of the most current
release of the Software, as well as Customer’s connectivity and ability to access Content. Phone Support shall be provided from
8:00 AM to 5:00 PM (Eastern Standard Time), Monday through Friday, exclusive of holidays observed by Provider.

2.      Software Hosting Services (Online Software ONLY)

          a.       Except as specifically permitted in this Agreement, Customer shall have web-based access the Software
hosted by Provider pursuant to this Agreement.
          b.       Provider shall provide Customer with access and related hosting services to the Software installed on
Provider’s servers. Provider will also install the Content provided by Customer. Provider will define the appropriate
performance specifications and will host the server at a Provider’s location. Provider will monitor and perform routine
maintenance on the server, and if the server is not operating properly, will make a good faith effort to operate Customer’s
system on a backup server, if available. Access to Customer’s server is restricted to authorized Provider information technology
and support personnel only. Differential and full server backups are performed when reasonably practicable.
          c.       Customer shall be responsible for installing, operating and maintaining the equipment, software, and/or
facilities at Customer location recommended by Provider for effective access to and use of the Software installed on Mueller
Systems server. Customer shall be responsible for providing and maintaining its own Internet access and all necessary
telecommunications equipment at Customer’s location necessary for accessing the Software.

                   Extended Infrastructure and Mi.Node Service and Maintenance Plan
                                         (Collectors/Repeaters)
Overview
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NOTE: If any failure is due to acts beyond the control of Mueller Systems, e.g. acts of God, or third party intentional or willful
misconduct, upon notification by Customer and acceptance by Mueller Systems of such failure, Mueller Systems will use
commercially reasonable efforts to address such failure at the then-current part and service fees. Such fees shall be in addition to
any previously-paid maintenance fees.


Summary of the service level commitment provided by Mueller Systems is as follows:
    100% reporting of all and accepted infrastructure devices covered
    Acknowledgement and response of all service requests within 2 hours
    Local troubleshooting with 8 hours if required
    Problem resolution of most requests within 3 to 5 business days
    Management of spare equipment to targeted stock levels

Assumptions

Single Point of Contact (SPOC): Customer will provide Mueller Systems with a single point of contact for notification and
communications relating to the assets covered by this plan. This SPOC will be responsible for the coordination of activities and
responsibilities assigned to customer.
Access: Customer will arrange for timely access to all assets covered under this plan. Customer will coordinate access to any
assets installed on third party sites, and ensure access to locked gates, buildings, or any area that a network asset is installed
which may require special considerations to service. If requested by Mueller Systems, customer will make attempts to arrange
for safe access to assets through local law enforcement, etc.
Covered Assets: Covered assets are defined as Mi.Hub XR collectors, Mi.Hub XR-R collectors, and repeaters installed as part
of this project. Pricing is outlined in Appendix D and valid for the installed infrastructure devices (collectors and repeaters)
listed in a formal propagation study developed by Mueller Systems as the first step in the execution of this plan.
Stock: Mueller Systems will maintain 5% stock levels on all required parts for maintenance of network devices (such as DCXR
Repeaters), and a minimum of one (1) Mi.Hub XR collectors and three (3) Mi.Hub XR-R collectors. Mueller Systems will
maintain stock in a secure location in or around the city of Jackson in accordance with the bailment agreement attached hereto.
Inventory will be available for audit upon request by Customer.

AMI tasks included in the fee:
   Troubleshooting and replacement of existing Collectors and Repeaters
   Removal / Decommissioning
   Battery Exchange in collectors
   Quarterly reporting – format to be mutually agreed upon
   Traffic control

AMI equipment tasks not included in the fee but price quotation provided following agreed upon scope and site survey:
   Relocate Collector and Repeater



Infrastructure Troubleshooting Steps: Hosted Environment

Mueller Systems will respond to all customer generated service requests within two (2) hours. If local troubleshooting is
required, Mueller Systems personnel will be onsite within eight (8) business hours. Mueller Systems will attempt to resolve all
service requests within 3 to 5 business days, and if such service request cannot be so resolved, Mueller Systems will provide
Customer with daily updates and action plans until the service request is resolved. Work above 50 feet (XR-R applications)
may take longer than 5 business days but no more than 10 business days.

Step 1: Notification of Outage
Mueller Systems Network Operations Center (NOC) will notify Customer’s SPOC of the potential outage condition. A ticket
will be opened with the Mueller Systems operations center from tracking the incident and the ticket number will be provided to
the Customer SPOC for tracking.

In the event Customer would need to alert Mueller Systems of a potential outage (i.e. physical damage, vandalism, etc.);
reporting will be done through the Mueller Systems NOC. Mueller Systems will open a ticket for the incident, and future
communications on the issue will be through the Customer SPOC.

Step 2: Remote Troubleshooting
In reaction to suspected outage, Mueller Systems NOC will perform corrective actions to attempt to recover the outage. This
will include:
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    (1) Troubleshooting and restoration attempts on the cellular backhaul connection (which will including working directly
        with third party provides such as AT&T)
    (2) Remote Reboot (if the Mi.Hub is responsive on the cellular backhaul)
    (3) Additional troubleshooting steps as required attempting to determine root cause of the outage.

In the event remote troubleshooting does not remedy the outage, Mueller Systems will arrive onsite and coordinate with NOC
personal to troubleshoot. If there is no power present at the electrical connection to the Hub, Mueller Systems will refer the
outage back to the customer so that power can be restored by the local electrical provider. The incident investigation will be
suspended for further investigation until power is restored and customer notifies NOC.
The issue may also be with the cellular provider or with other aspects on the backhaul connection. If local troubleshooting
reveals no outright issues with the Mi.Hub device and escalation is required by Mueller Systems to its third party vendors, a
second visit may be required before additional technicians are dispatched.

All actions taken will be logged in the Mueller Systems troubleshooting ticket and included in a final incident report.

Step 3: Technician Dispatch for On-Site Troubleshooting or Replacement
Mueller Systems, or its trained subcontractor, will be dispatched to the site for any outage that cannot be remedied through
previous Steps troubleshooting. Mueller Systems will coordinate with the Customer SPOC to occur during normal business
hours Monday through Friday 8am to 5pm. The onsite technician is trained in advanced troubleshooting and will take action to
remedy the outage. As-found photos will be taken to document the site before any work is done, and As-Built photos will be
taken as the technician leaves the site. If replacement of the network device is required, the technician will use a new device
from Customer stock. Local Mueller Systems technician will be responsible to return any defective product to Mueller Systems
for failure and warranty analysis in a timely manner. A summary of all work will be returned to Customer and logged in the
case that tracks the issue through to completion for archival purposes.




Infrastructure Troubleshooting Steps: Licensed Environment

Mueller Systems will respond to all service requests within two (2) hours. If local troubleshooting is required, Mueller Systems
will be onsite within eight (8) business hours. Mueller Systems will attempt to resolve all service requests within 3 to 5 business
days, and if such service request cannot be so resolved, Mueller Systems will provide Customer with daily updates and action
plans until the service request is resolved. Work above 50 feet (XR-R applications) may take longer than 5 business days.

Step 1: Notification of Outage
Customer’s SPOC will notify Mueller Systems NOC of the potential outage condition. A ticket will be opened with the Mueller
Systems NOC from tracking the incident and the ticket number will be provided to the Customer SPOC for tracking.

In the event Customer would need to alert Mueller Systems of a potential outage (i.e. physical damage, vandalism, etc.);
reporting will be done through the Mueller Systems NOC. Mueller Systems will open a ticket for the incident, and future
communications on the issue will be through the Customer SPOC.

Step 2: Remote Troubleshooting
In reaction to suspected outage, Customer will perform corrective actions to attempt to recover the outage. This will include:
     (1) Troubleshooting and restoration attempts on the cellular backhaul connection (which will including working directly
          with third party provides such as AT&T)
     (2) Remote Reboot (if the Mi.Hub is responsive on the cellular backhaul)
     (3) Additional troubleshooting steps as required attempting to determine root cause of the outage.

In the event remote troubleshooting does not remedy the outage, Mueller Systems will arrive onsite and coordinate with NOC
personal to troubleshoot. If there is no power present at the electrical connection to the Hub, Mueller Systems refer the outage
back to the customer so that power can be restored by the local electrical provider.
The issue may also be with the cellular provider or with other aspects on the backhaul connection. If local troubleshooting
reveals no outright issues with the Mi.Hub device, and escalation is required by Mueller Systems to its third party vendors, a
second visit may be required before additional technicians are dispatched.

All actions taken will be logged in the Mueller Systems troubleshooting ticket and included in a final incident report.

Step 3: Technician Dispatch for On-Site Troubleshooting or Replacement
Mueller Systems, or its trained subcontractor, will be dispatched to the site for any outage that cannot be remedied through
previous Steps troubleshooting. Mueller Systems will coordinate this time with the Customer SPOC to occur during normal
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business hours Monday through Friday 8am to 5pm. The onsite technician is trained in advanced troubleshooting and will take
action to remedy the outage. As-found photos will be taken to document the site before any work is done, and As-Built photos
will be taken as the technician leaves the site. If replacement of the network device is required, the technician will use a new
device from Customer stock. Local Mueller Systems technician will be responsible to return any defective product to Mueller
Systems for failure and warranty analysis in a timely manner. A summary of all work will be returned to Customer and logged
in the case that tracks the issue through to completion for archival purposes.

Warranties and Fees

In consideration of the fee, this plan covers all labor for the servicing of network assets and managing infrastructure RMAs and
stock during the year such fee was received by Mueller Systems.
Mueller Systems will manage RMAs, Customer stock and maintain inventory levels. Mueller Systems, or its subcontractors,
will dispose of non-warranty RMA products on behalf of Customer if desired.
This plan does not alter, change or effect the standard warranty related to the equipment and software purchased by Customer.
Standard Mueller Systems products needed for inventory for this plan (collectors, repeaters, etc.) will be ordered and billed at
quoted prices.
Materials and specialized services are not covered by this plan, but Mueller Systems will make commercially reasonable efforts
to acquire all specialized materials and services required under this plan. Such materials and services will be detailed and
itemized in a trip summary, and billed to Customer on a cost plus twenty percent rate. Specifically these additional items are:
      Any materials used to service assets (e.g. coax connectors, electrical connectors, LMR cable, antennas, etc.).
      Any other specialized materials or services that may be required to repair assets.

In the event any specialized materials and services cannot be obtained by Mueller Systems for reasons and circumstances
outside of its reasonable control, Mueller Systems and Customer will work together to develop a plan to address such issue.

                                                         RF Modules
Overview

This plan assumes all covered asset locations have been installed, passed acceptance testing, and have been accepted by
Customer and will be maintained exclusively by Mueller Systems or assigned subcontractors,. Mueller Systems will perform
onsite monitoring and maintenance of installed Mi.Node equipment (excluding meter bodies and registers) in order to meet
monthly reporting percentage goals outlined in the EAP below. Mueller Systems will investigate and repair non-operating
installed equipment and process RMAs. Mueller Systems will produce a monthly report of reporting percentage using the
equation below.

Summary of the service level commitment provided by Mueller Systems is as follows:
    98.5% reporting of all Mi.Node devices covered
    Any ledger than falls below 98.5% will be mitigated prior to the next billing cycle for that ledger
    Acknowledgement and response of all service requests within 2 hours
    Daily/Weekly local troubleshooting as required to maintain read rate
    Problem resolution of most individual requests within 3 to 5 business days
    Management of spare equipment to targeted stock levels

Assumptions

Single Point of Contact (SPOC): Customer will provide Mueller Systems with a single point of contact for notification and
communications relating to the assets covered by this plan. This SPOC will be responsible for the coordination of activities and
responsibilities assigned to customer.
Access: Customer will arrange for timely access to all assets covered under this plan. Customer will coordinate access to any
assets installed on third party sites, and ensure access to locked gates, buildings, or any area that a network asset is installed
which may require special considerations to service. If requested by Mueller Systems, customer will make attempts to arrange
for safe access to assets through local law enforcement, etc.
Covered Assets: Covered assets are defined as installed Mi.Nodes. This agreement is valid for a total of up to 65,000 installed
Mi.Node devices. The exact quantity and locations of devices to be mutually agreed upon by both parties as a first step in the
execution of this plan. This does not cover installed meters or registers.
Access to MiNet system: Customer will provide to Mueller Systems access to the MiNet system 24/7 for monitoring. A list of
active accounts on a regular basis will be provided to ensure that monitoring and maintenance is conducted on the correct
accounts. Any geographic area with no approved infrastructure locations will not be part of the read percentage.
Stock: Mueller Systems will maintain 5% stock levels on all required parts for maintenance of Mi.Node devices: 3 wire (non-
RDM) and 5 wire (RDM), TTLs. Mueller Systems will maintain stock in a secure location in or around the city of Jackson,
MS. Inventory will be available for audit upon request by Customer.
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Mueller Systems will produce one report per ledger per month. Mueller Systems will investigate and repair Mi.Nodes on a
regular basis to ensure each ledger is maintained at 98.5%. If any ledger falls below 98.5%, Mueller Systems will commence
mitigation efforts within 2 business days. Any ledger that is below 98.5% will be restored to 98.5% prior to the next billing
cycle.
                                           Endpoint Acceptance Plan (EAP)
The objective of the EAP is to verify that the AMI System will operate and meet or exceed the Criteria herein. For all tests
below, Mueller Systems will calculate the applicable performance requirements using the existing software features within the
AMI System. Unless stated otherwise below, any disputes regarding the performance of the AMI System shall be settled using
meter read data from Mi.Host’s database.

1.1 Test Procedure
        a. Mueller Systems notifies customer of readiness to commence testing
        b. Mueller Systems and customer mutually agree upon start date and test duration
        c. Testing will be conducted
        d. Mueller Systems will provide written test results within 5 days of the conclusion of the test
        e. If test results fall within performance criteria set forth below, Mueller Systems will provide written notice of
            successful completion
        f. If test results fall outside of the performance criteria set forth below, Mueller Systems will attempt to determine
            root cause of non-reporting Mi.Nodes utilizing Mi.Host network tools
        g. When sufficient remediation has been completed, proceed to step 1.a
        h. Accounts that are unable to be serviced and repaired for 2 months continuously through no fault of Mueller
            Systems, will be removed from MiNet system.

1.2 Test Performance Criteria

         a.    Collection of Billing Data
               Performance Criteria is 98.5% reads during the applicable Billing Window[1]

               Performance Criteria = 100 x ((Successful Communications) / (Expected Communications)).

                      Successful Communications is defined as a billing read available in Mi.Host.
                      Expected Communications is defined as a billing read from each active account in Mi.Host.

               The denominator, “Expected Communications”, in the formula above will be modified to adjust for the following
               conditions:

               1) Damaged meter or Mi.Node for example: meters with tamper, theft or other human induced failures that
                  render the meter or Mi.Node Module incapable of providing a read and Mueller Systems is unable to repair
                  due to reasons beyond Mueller Systems’ control.
               2) Other Installation Defect—the unit is otherwise installed improperly so that it does not communicate with the
                  network infrastructure and Mueller Systems is unable to repair due to reasons beyond Mueller Systems’
                  control.
               3) Meter or Mi.Node has been identified for Customer to remediate
               4) Mi.Node is serviced by network infrastructure that has been subjected to a power failure or has been
                  inoperative for greater than eight (8) total hours within the last 3 days
               5) Illegal or unauthorized jamming of the radio spectrum is preventing or interfering with radio communications
               6) Data Base errors — the Mi.Node is removed from the field but not removed from the Mi.Host database.
               7) Mi.Node is dependent on Mi.Node that has been identified for Customer to remediate
               8) A Mi.Node or the network equipment that serves a Mi.Node has been affected by a Force Majeure event.
                  Cases 1, 2, 3 and 8 a synopsis with pictures will be provided to the customer within 2 business days after
                  investigation.


2.   The EAP test procedure can be applied to the entire population or may be applied to a subset of meters based on network
     layout, geographic region, or meter reading routes as mutually agreed upon by Mueller Systems and the Customer.




         [1]
           Billing Window means the span in days, no shorter than 3 days, during which a valid meter read must be obtained to
         properly bill a customer.
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Warranties and Fees
In consideration of the fee, this plan covers all labor for the servicing of Mi.Node equipment and managing Mi.Node RMAs and
stock during the period such payment is received by Mueller Systems.
Mueller Systems will manage RMAs, Customer stock and maintain inventory levels. Mueller Systems, or its subcontractors,
will dispose of non-warranty RMA products on behalf of Customer if desired.
Standard Mueller Systems products needed for inventory for this plan (Mi.Nodes, TTLs, etc.) will be ordered and billed at
quoted prices.
This plan does not alter, change or effect the standard warranty related to the equipment and software purchased by Customer.
Materials and specialized services are not covered by this plan, but Mueller Systems will make commercially reasonable efforts
to acquire all specialized materials and services required under this plan. Such materials and services will be detailed and
itemized in a trip summary, and billed to Customer on a cost plus twenty percent rate.
In the event any specialized materials and services cannot be obtained by Mueller Systems for reasons and circumstances
outside of its reasonable control, Mueller Systems and Customer will work together to develop a plan to address such issue.
